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         Case: 19-2561    Document: 21         Filed: 10/24/2019    Pages: 3


     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                      Phone: (312) 435-5850
             Chicago, Illinois 60604                                            www.ca7.uscourts.gov




                                                         ORDER
 October 24, 2019

                                                          Before
                                         DANIEL A. MANION, Circuit Judge
                                         DAVID F. HAMILTON, Circuit Judge
                                         MICHAEL B. BRENNAN, Circuit Judge




                                         WILMINGTON TRUST, NATIONAL ASSOCIATION,
                                         Plaintiff - Appellee

 No. 19-2561                             v.

                                         CHRISTOPHER STOLLER and MICHAEL STOLLER,
                                         Defendants - Appellants

                                         WILMINGTON TRUST, NATIONAL ASSOCIATION,
                                         Plaintiff - Appellee

 No. 19-2591                             v.

                                         CHRISTOPHER STOLLER and MICHAEL STOLLER,
                                         Defendants - Appellants

                                         CHRISTOPHER STOLLER, et al.,
                                         Plaintiffs - Appellants

 No. 19-2923                             v.

                                         ALTISOURCE RESIDENTIAL L.P., et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court Nos: 1:19-cv-01821 & 1:18-cv-07169
 Northern District of Illinois, Eastern Division
 District Judges Elaine E. Bucklo & Sharon Johnson Coleman
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This court has carefully reviewed the orders of the district court, the records on ap peal, and the
parties’ motions. Based on this review, the court has determined that any issues that could be
raised are insubstantial and that further briefing would not be help ful to the court’s
consideration of the issues. See Taylor v. City of New Albany, 979 F.2d 87 (7th Cir. 1992); Mather v.
Village of Mundelein, 869 F.2d 356, 357 (7th Cir. 1989) (per curiam) (court can decide case on
motions papers and record where briefing would be not assist the court and no member of the
panel desires briefing or argument). “Summary disposition is appropriate ‘when the position of
one party is so clearly correct as a matter of law that no substantial question regarding the
outcome of the appeal exists.’” Williams v. Chrans, 42 F.3d 1137, 1139 (7th Cir. 1995) (quoting
Joshua v. United States, 17 F.3d 378, 380 (Fed. Cir. 1994)).

In appeal no. 19-2561, appellants Christopher and Michael Stoller challenge the district court’s
order denying the Stollers’ motion for reconsideration and for injunctive relief and/or a stay of
its remand order. This court does not have jurisdiction to review the order remanding the case
to state court. 28 U.S.C. §1447(d); Linder v. Union Pacific RR, 762 F.3d 568, 570 (7th Cir. 2014).
Therefore, appeal no. 19-2561 is DISMISSED for lack of jurisdiction to the extent that the
appellants seek to challenge the remand or reconsideration order. In ap peal no. 19-2591, the
Stollers challenge the district court’s order denying the S tollers’ additional motion to stay the
remand order pending appeal. Finally, in appeal no. 19-2923, the Stollers challenge the district
court’s orders denying their motion for a preliminary injunction to vacate the Arizona court’s
eviction judgment or for a stay of the district court p roceedings pending appeal.

This court reviews orders denying a stay or injunction for abuse of discretion. Venckiene v.
United States, 929 F.3d 843, 853 (7th Cir. 2019); Fed. Trade Comm'n v. Advocate Health Care
Network, 841 F.3d 460, 467 (7th Cir. 2016). Importantly, the appellants were not likely to succeed
on the merits. See 28 U.S.C. § 1441(a) (cases must be removed to district court where state action
is pending); Mains v. Citibank, N.A., 852 F.3d 669, 676 (7th Cir. 2017) (district courts may not
interfere in state court judgments); Hinrichs v. Bosma, 440 F.3d 393, 396 (7th Cir. 2006) (whether
stay is warranted depends on whether party seeking stay has reasonable likelihood of success
on the merits). Therefore, the district court did not abuse its discretion in denying the motions
to stay or enjoin the district and state court p roceedings. Accordingly, IT IS ORDERED that
the orders of the district court are summarily AFFIRMED.

IT IS FURTHER ORDERED that the motions for sanctions against Christop her Stoller are
GRANTED. Within 14 days, appellee Wilmington Trust National Association may file with
this court proper documentation of its attorneys’ fees and costs exp ended in the defense of
these appeals. See FED. R. APP. P. 38. Stoller may file a response within ten days of Wilmington’s
filing. Based on these filings, we will determine the ap propriate amount of fees and costs to
assess for pursuing these frivolous appeals, and Christopher Stoller will be responsible for
reimbursing Wilmington for these fees and costs. If Christopher Stoller fails to pay the sanction
and any outstanding filing fees by the due date, this court will enter an order directing the
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clerks of all federal courts in this circuit to return unfiled any p apers submitted either directly
or indirectly by or on behalf of Stoller unless and until he pays in full the sanction that has been
imposed against him. See In re: City of Chicago, 500 F.3d 582, 585–86 (7th Cir. 2007); Support Sys.
Intl, Inc. v. Mack, 45 F.3d 185, 186 (7th Cir. 1995) (per curiam). Further frivolous filings in these
or other appeals may result in additional sanctions. Christop her Stoller is further warned not to
attempt to bypass this sanction by filing documents in M ichael Stoller’s name.

IT IS FINALLY ORDERED that all other pending motions in these appeals are DENIED as
unnecessary.




 form name: c7_Order_3J(form ID: 177)
